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                                                           U.S. v. [13] Anthony Vazquez-Arroyo, 19-121 (SCC)




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

       UNITED STATES OF AMERICA,                         CRIMINAL NO. 19-121 (SCC)
       Plaintiff,

                              V.                                                   ^•^
                                                                                           <"/:--<^


       [13] ANTHONY VAZQUEZ-ARROYO,
                                                                              -^
                                                                              $
                                                                                           ^b.
                                                                                            s'^
                                                                                                      0;A^
       A/K/A "BURI"                                                          - <>0
                                                                             ^ ^/.
                                                                                                      "^\
       Defendant.                                                             - ^%
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                                                                                  ^. ~^co.
                                                                                           '^^
                                                                                            !0 ^ AZ?V
                        PLEA AND FORFEITURE AGREEMENT

     TO THE HONORABLE COURT:

            The United States of America, Defendant, [13] ANTHONY VAZQUEZ-

     ARR.OYO, A/K/A "BURI" and Defendant's counsel, Diego Alcala-Laboy, Esq.,

     pursuant to Federal Rule of Criminal Procedure 11, state that they have reached a Plea


^    Agreement, the terms and conditions of which are as follows:

        1. Charges to which Defendant will Plead Guilty
[\
            Defendant agrees to plead guilty to Counts One and Sue of the Indictment:

            Count One: of the Indictment charges that from in or about the year 2006, and

     continuing up to and until the return of the instant Indictment, in the Municipality of

     San Juan, District of Puerto Rico and within the jurisdiction of this Court, [13]

     ANTHONY VAZQUEZ-ARROYO, A/K/A "BUM" and other persons, did

     knowingly and intentionally, combine, conspire, and agree with each other and with

     diverse other persons known and unknown to the Grand Jury, to commit an offense
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           against the United States, that is, to knowingly and intentionally possess with intent

           to distribute and/or to distribute controlled substances, to wit: in excess of two

           hundred and eighty (280) grams of a mixture or substance containing a detectable

           amount of cocaine base (crack), a Schedule II Narcotic Drug Controlled Substance; in

           excess of one (1) kilogram of a mbcture or substance containing a detectable amount

           of heroin, a Schedule I, Narcotic Drug Controlled Substance; in excess of five (5)

           kilograms of a mixture or substance containing a detectable amount of cocaine, a

           Schedule II, Narcotic Drug Controlled Substance; in excess of one hundred (100)

           kilograms of a mbcture or substance contaming a detectable amount of marijuana, a

-f\!"
  A<-/ Schedule I, Controlled Substance; a mkture or substance containing a detectable

           amount of Oxycodone (commonly known as Percocet), a Schedule II Controlled

           Substance; and a mucture or substance containing a detectable amount ofAlprazolam

           (commonly known as Xanax), a Schedule IV Controlled Substance; within one

           thousand (1,000) feet of a real property comprising the Villa Kennedy Public Housing

           Project, Las Casas Public Housing Project, El Mirador Public Housing Project, Las

           Margaritas Public Housing Project, housing facilities owned by a public housing

           authority and within one thousand (1,000) feet of a real property comprising a public

           or private school and/or playground. All in violation of Title 21, United States Code

           Sections 841(a)(l), 846 and 860.

                 Count Sue: of the Indictment charges that from' in or about the year 2006, and

           continuing up to and until the return of the instant Indictment, in the Municipality of
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           San Juan, District of Puerto Rico and within the jurisdiction of this Court, [13]

          ANTHONY VAZQUEZ-ARROYO, A/K/A "BURI" together with others charged

           in Count Six, did knowingly and unlawfully possess firearms, of unknown make and

          caliber, as that term is defined in Title 18, United States Code, Section 921(a)(3), in

          furtherance of a drug trafficking crime for which they may be prosecuted in a Court of

          the United States, as charged in Counts One (1) through Five (5) of the instant

          Indictment. All in violation of Title 18, United States Code, § 924(c)(l)(A).

              2. Maximum Penalties

                 Count One: The penalty for the offense charged in Count One of the Indictment

          is a term of imprisonment which shall not be less than ten (10) years and up to two (2)

          terms of life, a fine not to exceed twenty million doUars ($20,000,000.00) and a term

           of supervised release of not less than ten (10) years m addition to any term of

   \ ^\ incarceration, pursuant to Title 21, United States Code. §§ 841(b)(l)(A), 846, and 860.
J\xi
                 However, based on the stipulated and agreed amount of narcotics possessed by
                                          /••^ OC --^' ^^c yt^> ^•'^

          the defendant, that is, at least -566 grams but less than 3-4aleg?am«-of cocaine, the
                                                                       /^l.< .-^-

           defendan,t faces a minimum term of imprisonment of &v:e-(-5)-year up to a maximum
                  »A^, ,^- '^,^0 . •- '' ^^ ^^^W - ^
           term ofeigb^y-(-8Q)-years, a fine not to exceed ten million dollars-($4-^0007000-^0), and
                                                      /^.
                                                      I" 'S i .V
                                                              ^  " -

           a term of supervised release of at least eigti^-(-8) years in addition to any term-of
                                                                                   J:J> „:;'-'
          incarceration, pursuant to Title 21, United States Code, 841(b)(l)(@), 846, and 860.

                 Count Sue: The statutory penalty for the offense charged in Count Sue of the

          Indictment, is a term of imprisonment of not less than 5 years nor more than life in
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          prison pursuant to 18 U.S.C. § 924(c); a fine not to exceed $250,000; and a supervised

          release term of not more than five years, pursuant to 18 U.S.C. § 3583(b)(l).

              3. Sentencing Guidelines Applicability

                 Defendant understands that the sentence will be imposed by the Court in

           accordance with 18 U.S.C. § § 3551-86, and the United States Sentencing Guidelines

           (hereinafter "Guidelines"), which are advisory pursuant to the United States Supreme

           Court decision in United States v. Booker, 543 U.S. 220 (2005). Further, Defendant

          acknowledges that parole has been abolished, and that the imposition of Defendant's

/j/^ \. sentence may not be suspended.

              4. Special Monetary Assessment


                 Defendant agrees to pay a special monetary assessment ("SMA") of one

     A hundred dollars ($100.00) per count of conviction. The SMA will be deposited in the
   \ I/
  ^ Crime Victim Fund, pursuant to 18 U.S.C. § 3013 (a)(2)(A).

              5. Fines and Restitution

                 The Court may, pursuant to Section 5E1.2 of the Guidelines order Defendant

          to pay a fine. The Court may also impose restitution. Defendant agrees to execute


          and make available, prior to sentencing, a standardized financial statement (OBD

          Form 500). The Uaited States will advocate on behalf of any identified victim and

          comply with its obligations under the Mandatory Victim Restitution Act of 1996.

              6. Sentence to be Determined by the Court



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                   Defendant understands that the sentence to be imposed will be determined


            solely by the United States District Judge. The United States cannot make and has not


            made any promise or representation as to what sentence Defendant wiU receive. Any


            discussions that the parties might have had about possible sentences are not binding in


            any way on the Court, and do not constitute representations about what the parties


            will seek, or what the actual sentence will be.


               7. Recommended Sentencing Guidelines Calculations


                   After due consideration of the relevant factors enumerated in 18 U.S.C. §


            3553(a), the United States and Defendant submit that the advisory Guidelines

            calculations listed below apply to Defendant. However, Defendant acknowledges that


            the Court is not required to accept those recommended Guidelines calculations.

 }'}/
^•'{^
                             SENTENCING GUIDELINES CALCULATIONS
                                         COUNT ONE
        /
    1r                                  21U.S.C. §§ 841(a)(l), 846 and 860
             Base Offense Level pursuant to U.S.S.G. § 2Dl.l(c)(8)
                                                                                                      24
             Protected Location U.S.S.G. § 2D1.2(a)(l)
                                                                                                      +2
             Leadership U.S.S.G. § 3Bl.l(b)
                                                                                                      +2
             Acceptance of Responsibility pursuant to U.S.S.G. §3E1.1
                                                                                                       -3

             TOTAL ADJUSTED OFFENSE LEVEL
                                                                                                      25
             CH Cat. I     CH Cat. II     CH Cat. Ill    CH Cat. IV          CH Cat. V             CH Cat. VI

                57-71         63-78 ,        70-87            84-105            100-125               110-137


                   As to Count Six, the United States and Defendant submit that pursuant to


            United States Sentencing Guidelines § 2K2.4(b), a defendant that is convicted of

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       violating 18 U.S.C. § 924 (c)(l)(A), has a guideline sentence equal to the minimum

       term of imprisonment reqmred by statute. In the present case, pursuant to 18 U.S.C.


       § 924(c)(l)(A)(i), there is a minimum term of imprisonment of sixty (60) months.

          8. Sentence Recommendation


              As to Count One, and after due consideration of the relevant factors enumerated


       in 18 U.S.C. § 3553(a), Defendant reserves the right to recommend as low as 60


       months and the government reserves the right to recommend as much as 84 months


       of incarceration. As to Count Sue, the parties agree to jointly recommend 60 months


   ' / and that the two sentences run consecutively to one another. In other words, the


       parties will argue between 120 and 144 months of incarceration for this case regardless


       of Defendant's criminal history category. The parties agree that any recommendation

       by either party for a term of imprisonment below or above the stipulated sentence


       recommendation will constitute a material breach of the Plea Agreement.
\\J'
              The parties also agree that case 17-085 is relevant conduct to the instance


       offense. The parties also agree the time of incarceration on the revocation of


       supervised release in case 11-325 will run consecutive to the instant case and case 17-


       085.


          9. No Stipulation as to Criminal History Category

              The parties do not stipulate as to any Criminal History Category for Defendant.


          10. Waiver of Appeal



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                   Defendant knowingly and voluntarily agrees that, if the imprisonment sentence


             imposed by the Court is 144 months or less, Defendant waives the right to appeal any


             aspect of this case's judgment and sentence, including, but not limited to the term of


             imprisonment or probation, restitution, fmes, forfeiture, and the term and conditions


             of supervised release.


                11.No Further Adjustments or Departures


                   The United States and Defendant agree that no further adjustments or


             departures to Defendant's total adjusted base offense level and no variant sentence


             under 18 U.S.C. § 3553—other than any explicitly provided for in this Plea




^
             Agreement—shall be sought by Defendant. The parties agree that any request by


             Defendant for an adjustment or departure that is not explicitly provided for in this Plea

        ^ Agreement wiU be considered a material breach of this Plea Agreement, and the
;\. \


f United States will be free to ask for any sentence, either guideline or statutory.


                12. Satisfaction with Counsel


                   Defendant is satisfied with counsel, Diego Alcala-Laboy, Esq., and asserts that


             counsel has rendered effective legal assistance.


                13.Rights Surrendered by Defendant Through Guilty Plea

                   Defendant understands that by entering into this Plea Agreement, Defendant


             surrenders and waives certain rights as detailed in this agreement. Defendant


             understands that the rights of criminal defendants include the following:



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                    a. If Defendant had persisted in a plea of not guilty to the charges,
                       Defendant would have had the right to a speedy jury trial with the
                        assistance of counsel. The trial may be conducted by a judge sitting
                       without a jury if Defendant, the United States and the judge agree.

                    b. If a jury trial is conducted, the jury would be composed of twelve lay
                        persons selected at random. Defendant and Defendant's attorney would
                        assist in selecting the jurors by removing prospective jurors for cause
                        where actual bias or other disqualification is shown, or by removing
                        prospective jurors without cause by exercising peremptory challenges.
                        The jury would have to agree, unanimously, before it could return a
                        verdict of either guilty or not guilty. The jury would be instructed that
                        Defendant is presumed innocent, that it could not convict Defendant
                        unless, after hearing all the evidence, it was persuaded of Defendant's
                        guilt beyond a reasonable doubt, and that it was to consider each charge
                        separately.


                    c. If a trial is held by the judge without a jury, the judge would find the facts
                       and, after hearing all the evidence and considering each count separately,
                       determine whether or not the evidence established Defendant's guilt
                       beyond a reasonable doubt.

   ^^ d. At a trial, the United States would be required to present its witnesses
'» ^ and other evidence against Defendant. Defendant would be able to
                       confront those witnesses and Defendant's attorney would be able to
                        cross-examine them. In turn, Defendant could present witnesses and
                        other evidence on Defendant's own behalf. If the witnesses for Defendant
                        would not appear voluntarily, Defendant could require their attendance
                        through the subpoena power of the Court.

                    e. At a trial, Defendant could rely on the privilege against self-incrimination
                        to decline to testify, and no inference of guilt could be drawn from
                        Defendant's refusal to testify. If Defendant desired to do so, Defendant
                        could testify on Defendant's own behalf.
                                                          l-'l


              14. Stipulation of Facts

                 The accompanying Stipulation of Facts signed by Defendant is hereby

           incorporated into this Plea Agreement. Defendant adopts the Stipulation of Facts and


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          agrees that the facts therein are accurate in eveiy respect. Defendant agrees and accepts


          that had the matter proceeded to trial, the United States would have proven those facts

          beyond a reasonable doubt.


             15. Limitations of Plea Agreement

                 This Plea Agreement binds only the. United States Attorney's Office for the

          District of Puerto Rico and Defendant. It does not bind any other federal district, state,

          or local authorities.

             16. Entirety of Plea Agreement

                 This written agreement constitutes the complete Plea Agreement between the

^ // United States, Defendant, and Defendant's counsel. The United States has made no
^         promises or representations except as set forth in writing in this Plea Agreement and
     r-
^!        denies the existence of any other terms and conditions not stated herein.


             17.Amendments to Plea Agreement

                 No other promises, terms or conditions will be entered into between the parties

          unless they are in writing and signed by all parties.

             18. Dismissal of Remaining Counts

                 At sentencing should there be any pending counts and should the Defendant

          comply with the terms of this Plea Agreement, the United States will move to dismiss

          the remaining counts of the Indictment pending against Defendant in this case.

             19.Voluntariness of Plea Agreement



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           Defendant acknowledges that no threats have been made against Defendant and

    that Defendant is pleading guilty freely and voluntarily because Defendant is guilty.

       20. Breach and Waiver

          Defendant agrees that defendant will have breached this Plea Agreement if,

    after entering into this Plea Agreement, Defendant: (a) fails to perform or to fulfill

    completely each and every one of Defendant's obligations under this Plea Agreement;

    (b) engages in any criminal activity prior to sentencing; or (c) attempts to withdraw

    Defendant's guilty plea. In the event of such a breach, the United States will be free

    from its obligation under this Plea Agreement and Defendant will not have the right

    to withdraw the guilty plea. Moreover, Defendant agrees that if Defendant is in

    breach of the Plea Agreement, Defendant is deemed to have waived any objection to


^   the reinstatement of any charges under the Indictment, Information, or complaint

    which may have previously been dismissed or which may have not been previously

    prosecuted.


       21. Potential Impact on Immigration Status

          Pursuant to Federal Rule of Criminal Procedure 1 l(b)(l)(0), Defendant hereby

    agrees and recognizes that if convicted, a Defendant who is not a United States citizen

    may be removed from the United States, denied citizenship, and denied admission to

    the United States in the future.


       22. Felony Conviction



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                  Defendant hereby agrees and recognizes that the plea of guilty in this case will


           be recognized as a felony conviction, which will result in the loss of certain rights,

           including but not limited to the right to vote in a federal election, to serve as a juror,

           to hold public office, and to lawfully possess a firearm.


              23. Firearms and Ammunition Forfeiture

                  Pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), Defendant agrees to

           forfeit Defendant's rights and interest in any firearms and ammunition involved or

           used in the commission of the offense.

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 \j^y 24. Forfeiture Provision

                  Pursuant to this Plea Agreement, the defendant agrees to forfeit to the United
      ,\
(^ -^ States any drug proceeds or substitute assets for that amount, which constitutes or is

           derived from proceeds generated or traceable to the drug trafficking offense in violation

           of 21 U.S.C. §§841, 846 and 860. Further, defendant shall forfeit to the United States

           any property constituting, or derived from, proceeds obtained, directly or indirectly,

           as a result of said violations and any property used, or intended to be used, in any

           manner or part, to commit, or to facilitate the commission of the said violations up to

           the amount stated above. The defendant agrees to identify all assets over which the

           defendant exercises or exercised control, directly 'or indirectly, within the past three

           years, or in which the defendant has or had during that time any financial interest. The

           defendant agrees to take all steps as requested by the United States to obtain from any


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           other parties by any lawful means any records of assets owned at any time by the

           defendant. Defendant agrees to forfeit to the United States all of the defendant's

           interests in any asset of a value of more than $1,000 that, within the last three years,

           the defendant owned, or in which the defendant maintained an interest, the ownership

           of which the defendant fails to disclose to the United States in accordance with this

           agreement.


                  The defendant further agrees to waive all interest in any such asset in any

           administrative or judicial forfeiture proceeding, whether criminal or civil, state or

           federal. The defendant agrees to consent to the entry of orders of forfeiture for such

/)/• property and waives the requirements of Federal Rules of Criminal Procedure 32.2

           and 43 (a) regarding notice of the forfeiture in the charging instrument, announcement

i\\^
   " of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment.

           Defendant acknowledges that he understands that the forfeiture of assets is part of the

           sentence that may be imposed m this case and waives any failure by the court to advise

           him of this, pursuant to Rule ll(b)(l)(J), at the time his guilty plea is accepted.

                  The defendant further agrees to waive all statutory challenges in any manner

           (including direct appeal, habeas corpus, or any other means) to any forfeiture carried

           out in accordance with this Plea Agreement on any grounds, including that the

           forfeiture constitutes an excessive fine or punishment. The defendant agrees to take all

           steps as requested by the United States to pass clear; title to forfeitable assets to the

           United States, and to testify truthfuUy in any judicial forfeiture proceeding. Defendant
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acknowledges that all property covered by this agreement is subject to forfeiture as

proceeds of illegal conduct, giving rise to forfeiture and/or substitute assets for

property otherwise subject to forfeiture.

       Defendant, by agreeing to the forfeiture stated above, acknowledges that such

forfeiture in not grossly disprQportional to the gravity of the offense conduct to which

defendant is pleading guilty. Defendant agrees that the forfeiture provisions of this plea

agreement are intended to, and will, survive him, notwithstanding the abatement of

any underlying criminal conviction after the execution of this agreement. The

forfeitability of any particular property pursuant to this agreement shall be determined

as if Defendant had survived, and that determination shall be binding upon

Defendant's heirs, successors and assigns until the agreed forfeiture, including any

agreed money judgment amount, is collected in full.

W. STEPHEN MULDROW
United States Attorney



                 ^      ^_
Alberto R. Lopez Rocafort
                               ^.^- ^                    /^
                                                     /<E)iegi()Alcala-Lab dy
Assistant U.S. Attorney                                Counsel for Defendant
Chief, Gang^Sectipn                                    Dated: ^.7-^2
Dated: ^//z. /yoi-L.

                                              11.




  4 A i^
Joseph Russell                                         Anthony Vazquez-Arroyo
Assistant U.S. Attorney                                Defendant
Gang Section                                           Dated:           ^
                                                                        ^ ^, ^^
Dated: !l 4^>< ^'z(--,

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                         UNDERSTANDING OF RIGHTS
      I have consulted with counsel and fully understand all of my rights as to the

charges pending against me. Further, I have consulted with my attorney and fully

understand my rights as to the provisions of the Guidelines that may apply in my case.

I have read this Plea Agreement and carefully reviewed eveiy part of it with my

attorney. My counsel has translated the Plea Agreement to me in the Spanish

language and I have no doubts as to the contents of the agreement. I fully understand

this agreement and voluntarily agree to it.

Date: ^\1 Zt- ^.U^~
           ^ Anthony Vazquez-Arroyo
                         Defendant

      I am the attorney for Defendant. I have fully explained Defendant's rights to

Defendant with respect to the pending charges. Further, I have reviewed the applicable

provisions of the Guidelines and I have fully explained to Defendant the provisions of

those Guidelines that may apply in this case. I have carefully reviewed every part of

this Plea Agreement with Defendant. I have translated the Plea Agreement and

explained it in the Spanish language to the Defendant who has expressed having no

doubts as to the contents of the agreement. To my knowledge, Defendant is entering

into this Plea Agreement voluntarily, intelligently, and with full knowledge of all

consequences of Defendant's plea of guilty. // // / .
                                                    // / /
      Date: W7/W-
                                                piego Alcala-Laboy /
                                              /Counsel for Defendant

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                                     STIPULATION OF FACTS
               In conjunction with the submission of the accompanying Plea Agreement in


         this case, the Defendant, [13] ANTHONY VAZQUEZ-ARROYO, A/K/A <<BURP>

         admits that Defendant is guilty as charged in the Indictment and admits the following:

               From in or about the year 2006, and continuing up to and until the return of the


         instant Indictment, in the Municipality of San Juan, District of Puerto Rico and within

         the jurisdiction of this Court, [13] ANTHONY VAZQUEZ-ARROYO, A/K/A

         <<BURP> and others did knowingly and intentionally, combine, conspire, and agree


         with each other and with diverse other persons known and unknown, to commit an

   c
^\J -f offense against the United States, that is, to knowingly and intentionally possess with

         intent to distribute and/or to distribute controlled substances, to wit: m excess of two


/ ,7 hundred and eighty (280) grams of a mbcture or substance containing a detectable

         amount of cocaine base (crack), a Schedule II Narcotic Drug Controlled Substance; in


         excess of one (1) kilogram of a mucture or substance containing a detectable amount

         of heroin, a Schedule I, Narcotic Drug Controlled Substance; in excess of five (5)


         kilograms of a imxture or substance contaming a detectable amount of cocaine, a


         Schedule II, Narcotic Drug Controlled Substance; in excess of one hundred (100)

         kilograms of a mucture or substance containing a detectable amount of marijuana, a


         Schedule I, Controlled Substance; a mixture or substance containing a detectable


         amount of Oxycodone (commonly known as Percocet), a Schedule II Controlled


         Substance; and a mixture or substance containing a detectable amount ofAlprazolam

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          (commonly known as Xanax), a Schedule IV Controlled Substance; within one


         thousand (1,000) feet of a real property comprising the Villa Kennedy Public Housing

         Project, Las Casas Public Housing Project, El Mirador Public Housing Project, Las


         Margaritas Public Housing Project, housing facilities owned by a public housing

          authority and within one thousand (1,000) feet of a real property comprising a public

          or private school and/or playground. All in violation of Title 21, United States Code

          Sections 841(a)(l), 846 and 860.

                The object of the conspiracy was to distribute controlled substances within one


         thousand (1,000) feet of housing facilities owned by a public housing authority in San

          Juan Puerto Rico, that is, the Villa Kennedy Public Housing Project, Las Casas Public


         Housing Project, El Mu'ador Public Housing Project, Las Margaritas Public Housing


         Project, and in other areas in San Juan Puerto Rico within one thousand (1,000) feet



^
    y of a real property comprising a public or private school and/or playground aU for
    ^



          significant fmancial gain and profit.


                Defendant [13] ANTHONY VAZQUEZ-ARROYO, A/K/A "BUM" acted

          as an enforcer and drug point owner for the Drug Trafficking Organization. As an


          enforcer, Defendant would routinely possess firearms to protect other members of the

         Drug Trafficking Organization as well as to protect the narcotics and proceeds from


         the sale of the narcotics.


                As a drug point owner Defendant would routinely authorize and instruct other


         members of the Drug Trafficking Organization regarding the sale of narcotics as well
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    as the distribution of the proceeds from the sale of those narcotics.


          While multiple kilograms of heroin, cocaine, cocaine base and marijuana were


    distributed during the conspiracy, for purposes of this plea agreement the defendant


    acknowledges that during the span of the conspiracy he possessed with intent to
                    r^ ^ ^s^j^^ ^-
    distribute at least 5QQ- grams but no more than -34alogr-ams of cocaine. Defendant


    also admits that, during the course of the conspiracy, he possessed at least one firearm




^
    in furtherance of the drug trafficking carried out by the organization.




^
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             PLEA AGREEMENT CONTINUES ON FOLLOWING PAGE




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                                                      U.S. v. [13] Anthony Vazquez-Arroyo, 19-121 (SCC)




       At trial, the United States would have proven beyond a reasonable doubt that

defendant [13] ANTHONY VAZQUEZ-ARROYO, A/K/A "BURI" is guilty as

charged in COUNT ONE and COUNT SIX of the Indictment by presenting physical

and documentary evidence, photographs, audio and video recordings, testimony of a

forensic chemist as an expert witness, cooperating witnesses, as well as the testimony


of law enforcement agents among others.


       Discoveiy was timely made available to Defendant for review.




 )<
    /,v-;
Joseph Russell
                                                       ^
                                                   //6iego Alcala-Laboy
Assistant U.S. Attorney                              Counsel for Defendant
Dated: \^ /-".-/.-.' c-z^-                           Dated: ^-/7'^z^



                                                         -^TlU^
                                                     Anthony Vazquez-Arroyo
                                                     Defendant
                                                     Dated: ^\ (1, ^L 7




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